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UNITED STATES DISTRICT COURT
DISTRICT OF COLORADO


 GARY CHISOLM,

                               Plaintiff,                     Docket No. 1:20-cv-344

        - against -                                           JURY TRIAL DEMANDED


 GLOBAL GRAPHICS & DESIGNS INC.

                                Defendant.


                                            COMPLAINT

       Plaintiff Gary Chisolm (“Chisolm” or “Plaintiff”) by and through his undersigned

counsel, as and for his Complaint against Defendant Global Graphics & Designs Inc. (“Global

Graphics” or “Defendant”) hereby alleges as follows:

                                 NATURE OF THE ACTION

       1.      This is an action for copyright infringement under Section 501 of the Copyright

Act. This action arises out of Defendant’s unauthorized reproduction and public display of a

copyrighted photograph of a horse carriage, owned and registered by Chisolm, a professional

photographer. Accordingly, Chisolm seeks monetary relief under the Copyright Act of the

United States, as amended, 17 U.S.C. § 101 et seq.

                                JURISDICTION AND VENUE

       2.      This claim arises under the Copyright Act, 17 U.S.C. § 101 et seq., and this Court

has subject matter jurisdiction over this action pursuant to 28 U.S.C. §§ 1331 and 1338(a).

       3.      Upon information and belief, this Court has personal jurisdiction over Defendant

because Defendant transacts business in Colorado.
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         4.    Venue is proper in this District pursuant to 28 U.S.C. § 1391(b).

                                             PARTIES

         5.    Chisolm is a professional photographer in the business of licensing his

photographs for a fee having a usual place of business at 3381 Granview Road, Granville, OH

43023.

         6.    Upon information and belief, Global Graphics is a domestic business corporation

with a place of business at 1625 W. Candletree, Drive Peoria, IL 61614 and transacts business in

Colorado. At all times material hereto, Global Graphics has published a magazine called

Destination Licking County (the “Magazine”).

                                    STATEMENT OF FACTS

         A.    Background and Plaintiff’s Ownership of the Photograph

         7.    Chisolm photographed of a horse carriage (the “Photograph”). A true and correct

copy of the Photograph is attached hereto as Exhibit A.

         8.    Chisolm is the author of the Photograph and has at all times been the sole owner

of all right, title and interest in and to the Photograph, including the copyright thereto.

         9.    The Photograph was registered with United States Copyright Office and was

given Copyright Registration Number VA 2-145-769.

         B.    Defendant’s Infringing Activities

         10.   Global Graphics ran the Photograph on the Magazine. See Exhibit B.

         11.   Global Graphics did not license the Photograph from Plaintiff for its Magazine,

nor did Global Graphics have Plaintiff’s permission or consent to publish the Photograph on its

Magazine.

                                      CLAIM FOR RELIEF
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                      (COPYRIGHT INFRINGEMENT AGAINST DEFENDANT)
                                 (17 U.S.C. §§ 106, 501)

        12.     Plaintiff incorporates by reference each and every allegation contained in

Paragraphs 1-11 above.

        13.     Global Graphics infringed Plaintiff’s copyright in the Photograph by reproducing

and publicly displaying the Photograph on the Magazine. Global Graphics is not, and has never

been, licensed or otherwise authorized to reproduce, publically display, distribute and/or use the

Photograph.

        14.     The acts of Defendant complained of herein constitute infringement of Plaintiff’s

copyright and exclusive rights under copyright in violation of Sections 106 and 501 of the

Copyright Act, 17 U.S.C. §§ 106 and 501.

        15.     Upon information and belief, the foregoing acts of infringement by Global

Graphics have been willful, intentional, and purposeful, in disregard of and indifference to

Plaintiff’s rights.

        16.     As a direct and proximate cause of the infringement by the Defendant of

Plaintiff’s copyright and exclusive rights under copyright, Plaintiff is entitled to damages and

Defendant’s profits pursuant to 17 U.S.C. § 504(b) for the infringement.

                                    PRAYER FOR RELIEF

        WHEREFORE, Plaintiff respectfully requests judgment as follows:

        1.      That Defendant Global Graphics be adjudged to have infringed upon Plaintiff’s

                copyrights in the Photograph in violation of 17 U.S.C §§ 106 and 501;
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       2.     That Plaintiff be awarded Plaintiff’s actual damages and Defendant’s profits,

              gains or advantages of any kind attributable to Defendant’s infringement of

              Plaintiff’s Photograph;

       3.     That Defendant be required to account for all profits, income, receipts, or other

              benefits derived by Defendant as a result of its unlawful conduct;

       4.     That Plaintiff be awarded punitive damages for copyright infringement;

       5.     That Plaintiff be awarded attorney’s fees and costs;

       6.     That Plaintiff be awarded pre-judgment interest; and

       7.     Such other and further relief as the Court may deem just and proper.

                                 DEMAND FOR JURY TRIAL

       Plaintiff hereby demands a trial by jury on all issues so triable in accordance with Federal

Rule of Civil Procedure 38(b).

Dated: Valley Stream, New York
       February 10, 2020
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